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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
                  CRIMINAL ACTION NO. 19-10476-RGS

                      UNITED STATES OF AMERICA
                                      v.
                          ANGEL RIVERA-VALLE

                    MEMORANDUM AND ORDER ON
                       DEFENDANT’S MOTION
                    FOR COMPASSIONATE RELEASE

                              January 12, 2021

STEARNS, D.J.
     The authority of a trial court to reduce the sentence of a committed
prisoner, unlike in the case of a pretrial detainee, is tightly circumscribed.
A sentence once imposed may not be modified except to the extent permitted
by Rule 35 of the Federal Rules of Criminal Procedure.       See 18 U.S.C. §
3582(c). However, there is a recently enacted (December 21, 2018)
exception. Under 18 U.S.C. § 3582(c)(1)(A), a district court, on a motion by
the Director of the Bureau of Prisons (BOP) or by a defendant who has
exhausted his prescribed administrative rights, may order a compassionate
reduction of sentence: (1) on a finding of “extraordinary and compelling
reasons” warranting such a reduction; or (2) on findings that apply to elderly
long-term inmates suffering from terminal or self-debilitating illnesses and
who, as a result, are no longer deemed a danger to the safety of any person
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or the community. Rivera-Valle, who is 27 years old and who has served
less than one-quarter of the 64-month sentence imposed by the court on
September 8, 2020, does not fit the eligibility criteria that apply to the second
statutory category of inmate.

      In his motion, 1 Rivera-Valle asks that his committed sentence be

reduced to home confinement because of the threat of infection posed by the

COVID-19 virus in a prison setting. Although Rivera-Valle claims to be at

medical risk, his documented ailments, namely obesity and hypertension,

are neither uncommonly grave nor life-threatening.           Moreover, he has

previously contracted COVID-19 and has fortunately recovered which greatly

reduces, although may not entirely eliminate, his prospect of being

reinfected. The gravamen of Rivera-Valle’s complaint is that prisons and

jails, have suffered outbreaks of COVID-19 and that as a prisoner he runs an

elevated risk of an infection living in close quarters with other inmates.

While his concerns are understandable, they are not “extraordinary and

compelling.”


      1 Rivera-Valle has yet to be transferred from Wyatt to the custody of
the BOP. Under the circumstances, the government agrees that Rivera-
Valle has no practical means to exhaust his ordinary remedy of submitting a
release petition to the Warden of the facility to which he will be ultimately
assigned.
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      Rivera-Valle’s convictions are based on his trafficking in substantial

quantities of fentanyl, an extremely dangerous and addictive drug. I also

note that Rivera-Valle’s proposal that he be released to return immediately

to the Dominican Republic to care for his adolescent sister would effectively

eliminate any future supervision or monitoring of his activities.2

      While I am as concerned as any judge with the impact of COVID-19 on

the prison population, unless society is to make the decision that all

prisoners should be released because of the pandemic, there must be a means

of differentiating those eligible for release from those who are not.      In

setting the conditions that justify compassionate release, Congress made its

best effort to provide judges with the tools they need to make these difficult

and, at times, heart-wrenching decisions.3 Rivera-Valle does not meet any


      2 Rivera-Valle’s principal argument for release is the claim that he is
the only adequate available caretaker for his thirteen-year-old sister who
lives now with her grandmother in the Dominican Republic. As the
government points out, Rivera-Valle has presented no medical or other
documentation of his sister’s mental or physical health or the circumstances
of the grandmother who is her present custodian.

      3  Congress, in addition to the quantitative criteria set out in §
3582(c)(1)(A)(ii), directs courts to those set out in the Bail Reform Act and
the policy statements of the United States Sentencing Commission. See 18
U.S.C. § 3582(c)(2). As I have previously noted, I think the late Chief
Justice Ralph Gants of the Massachusetts Supreme Judicial Court
summarized the considerations admirably in reminding us that “in
conducting . . . de novo review [of a detention decision], a judge must give
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of mandated eligibility criteria and, therefore, is not a candidate for

compassionate release.

     Because I can foresee no circumstances under which Rivera-Valle

could be deemed eligible at present for compassionate release, I see no

reason for a hearing on the matter.

                                       ORDER

     For the foregoing reasons, the Motion for Compassionate Release is

DENIED.

                                      SO ORDERED.

                                      /s/ Richard G Stearns___________
                                      UNITED STATES DISTRICT JUDGE




careful consideration not only to the risks posed by releasing the defendant
– flight, danger to others or to the community, and likelihood of further
criminal acts – but also, during this pandemic, to the risk that the defendant
might die or become seriously ill if kept in custody.”             Christie v.
Commonwealth, 484 Mass. 397, 398 (2020).                 The Chief Justice’s
admonition is equally pertinent in weighing the balancing factors that
underlie a motion for compassionate release. Here I believe that it is the
community that bears the greater risk should Rivera-Valle be prematurely
released.

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